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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA


 Clark, et al.,

                          Plaintiffs,

 v.                                                     Civil Action: 20-cv-308-SDD-RLB

 Edwards, et al.,

                          Defendants,

                    c/w

 Power Coalition for Equity and Justice, et al.,

                          Plaintiffs,
 v.

 John Bel Edwards, the Governor of the State
 of Louisiana, in his Official Capacity, et al.,
                                                        Civil Action: 20-cv-283-SDD-RLB
                          Defendants,

          and

 The State of Louisiana,

                          Proposed Intervenor.


DEFENDANT-INTERVENOR THE STATE OF LOUISIANA’S MOTION TO DISMISS
                   PLAINTIFFS’ COMPLAINT

        Defendant, the State of Louisiana, by and through its counsel, do hereby move that

Plaintiffs’ Complaint be dismissed. This motion is filed with the State’s motion to intervene

pursuant to Fed. R. Civ. P. 24(c).

                                           1.




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       Plaintiffs’ filed a Complaint on May 7, 2020, seeking declaratory and injunctive relief

respecting Louisiana’s voting regulations in light of COVID-19 (the “Virus”).

                                             2.

       Plaintiffs’ claims come too late in the election cycle, and therefore should be dismissed

under the Supreme Court’s Purcell doctrine.

                                             3.

       This Court also lacks subject matter jurisdiction. First, Plaintiffs’ lack standing because,

inter alia, the Virus is not state action for the purposes of Plaintiffs claims. Second, Plaintiffs’

claims present political questions unfit for judicial review.

                                             4.

       Plaintiffs have also failed to state a claim upon which relief can be granted because, once

again, the allegations on the face of the complaint point to the Virus, and not the State of Louisiana,

as the perpetrator of their alleged harms.

                                          5.

Finally, Plaintiffs have failed to join the necessary parties to afford them relief under Rule 19.

       For the reasons more fully set forth in the attached memorandum of law, Defendant State

of Louisiana respectfully requests that this Court DISMISS Plaintiffs’ Complaint.

Dated: June 5, 2020                    RESPECTFULLY SUBMITTED,




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 Counsel for Intervenor-Defendant the State of
 Louisiana


                                CERTIFICATE OF SERVICE

       I do hereby certify that, on this 5th day of June 2020, the foregoing was electronically

filed with the Clerk of Court using the CM/ECF system, which gives notice of filing to all

counsel of record.

                                             /s/ Angelique Duhon Freel
                                             Angelique Duhon Freel




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